     Case: 1:24-cv-08209 Document #: 101 Filed: 04/28/25 Page 1 of 12 PageID #:1455



                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

CHRISTOPHER MANHART, individually and          )
on behalf of all others similarly situated,    )
                                               )     No. 1:24-cv-8209
                            Plaintiff,         )
                                               )     Hon. Mary M. Rowland
v.                                             )
                                               )     Magistrate Judge Keri L.
NATIONAL STUDENTS FOR JUSTICE                  )     Holleb Hotaling
IN PALESTINE, et al.,                          )
                                               )
                            Defendants.        )




                DEFENDANT WESPAC FOUNDATION INC’S
     REPLY MEMORANDUM OF LAW IN SUPPORT OF ITS MOTION TO DISMISS
               PLAINTIFF’S SECOND AMENDED COMPLAINT
    Case: 1:24-cv-08209 Document #: 101 Filed: 04/28/25 Page 2 of 12 PageID #:1456



                                         INTRODUCTION

        Defendant WESPAC Foundation, Inc. (“WESPAC”) submits this reply memorandum of

law in support of its Motion to Dismiss Plaintiff Christopher Manhart’s Second Amended

Complaint (“SAC”).

        WESPAC did not “cloak [it]sel[f] in the mantle of “civil disobedience.” ECF 91 (“Opp”

or “Opposition Brief”), at 1 (opening line). To the contrary, WESPAC did not disobey any law

or do anything in relation to the O’Hare blockage, and Plaintiff never specifically alleges

otherwise: that WESPAC was aware of, helped plan, was present at, or funded this protest.

Plaintiff offers this and other collective allegations against all “Defendants” which are not

applicable to WESPAC,1 revealing that he and his counsel sued WESPAC notwithstanding that it

had no involvement in this blockade in order to harass and punish it for its Palestinian-rights

advocacy and for fiscally supporting NSJP and others who do the same.

        What Plaintiff’s Opposition Brief does not do is rebut the deficiencies of his claims

against WESPAC set forth in its Initial Brief, ECF 79. Plaintiff’s failure to allege that WESPAC

sent any money to Illinois for this protest or took any other tortious action in or aimed at Illinois

in connection with it, still defeats personal jurisdiction. Plaintiff’s derivative conspiracy, aiding

and abetting, and in concert claims (including his alternative negligence and recklessness claim

in Count IX) still cannot survive the SAC’s failure to allege that WESPAC (1) had any prior

knowledge of any O’Hare blockage plan, or (2) provided any money to NSJP or anyone else for

it. WESPAC simply could not have agreed to join or provide substantial assistance to a plan it

knew nothing about. And providing general fiscal assistance to NSJP is not a basis for liability if

none of that assistance was spent in connection with the blockage that purportedly injured

Plaintiff. Although Plaintiff does not – and cannot – plausibly allege that WESPAC and NSJP

1
 See, e.g., Opp. 3 (“the organizational Defendants helped plan, promote and execute the O’Hare blockade
as part of the A15 action conspiracy”); Opp. 15 (“The Defendants here conspired to block a roadway[.]”).
    Case: 1:24-cv-08209 Document #: 101 Filed: 04/28/25 Page 3 of 12 PageID #:1457



were one integrated entity, providing general fiscal sponsorship assistance but not to this protest

would not ground WESPAC’s liability no matter how the WESPAC-NSJP fiscal sponsorship

was structured. Nor does the Opposition Brief provide any basis for imposing on WESPAC a

legal duty of care to Plaintiff to supervise NSJP’s funds, let alone all its activities, either under

Illinois or federal law.

        Of course, even before we get to those deficient derivative claims against WESPAC,

Plaintiff’s underlying claims of false imprisonment and common-law-tort-for-foreseeable-injury-

caused-by-intentional-breach-of-duty do not state valid claims against any Defendant under Rule

12(b)(6). Being stuck in traffic does not constitute the tort of false imprisonment under the

Restatement of Torts or Illinois law, and “foreseeable injury caused by intentional breach of

duty” is not a valid, cognizable cause of action under Illinois common law. There is no private

right of action under any provision of the Vehicle Code, and any duty imposed by ordinances

related to the public’s right of unobstructed passage on a public highway is only for the benefit

of the public at large, not to protect any individual from harm. Accordingly, there is no legal

basis for Plaintiff’s common law tort claim. Nor are his alleged injuries the kind the Vehicle

Code was intended to protect. And if that claim were recognized, it would raise profound

constitutional and public policy concerns in no way justified by any arguable need to allow any

and all drivers and passengers to sue for any violation of the vehicle code that causes

inconvenience or obstructs traffic. See CJE Reply 11-14; JVP Reply 9-14.2

        Moreover, Plaintiff’s alleged injuries – inconvenience, annoyance, anxiety, and general

loss of time unaccompanied by specific allegations of tangible harm from being stuck in traffic –


2
 To avoid needless duplication, WESPAC again respectfully incorporates by reference the arguments of
all co-defendants that apply to WESPAC, including Defendant Jewish Voice for Peace’s Reply
Memorandum of Law (“JVP Reply”), ECF 94; Defendant Tides Center D/B/A Community Justice
Exchange’s Reply in Support of its Motion to Dismiss (“CJE Reply”), ECF 96; and Defendant National
Students For Justice in Palestine’s Reply in Support of its Motion to Dismiss (“NSJP Reply”), ECF 99.


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  Case: 1:24-cv-08209 Document #: 101 Filed: 04/28/25 Page 4 of 12 PageID #:1458



are not concrete enough to establish Article III standing. Nor are those injuries fairly traceable to

WESPAC’s general fiscal sponsorship of NSJP, which is not alleged to have provided any

money for this blockage or to have “caused” it in any other plausible way. Plaintiff has simply

sued WESPAC for alleged injuries resulting from decisions it did not make. See CJE Reply 3-6,

JVP Reply 7.

       Because his underlying claims are defective, Plaintiff’s derivative claims fail against all

Defendants. All derivative claims against WESPAC should therefore be dismissed, even before

considering the additional reasons specific to WESPAC contained in Points I and II below.

                                          ARGUMENT

           I. PLAINTIFF STILL FAILS TO STATE A CLAIM AGAINST WESPAC

       A. Plaintiff’s Fiscal-Sponsor-Based Theory of Liability Has No Legal Basis

       Plaintiff’s sole defense of his case against WESPAC is that because “WESPAC is the

sole direct fiscal sponsor of NSJP, and NSJP has no legally independent corporate structure,

WESPAC is directly liable for NSJP’s actions,” Opp. 5; or put differently, because “WESPAC

had a duty to supervise NSJP to ensure it wasn’t acting illegally, and breached that duty, causing

injury.” Opp. 36, citing SAC ¶¶ 14, 42, 145-46, and Opp. 39-43.

       WESPAC’s initial brief on this motion highlighted the absence of any case law imposing

on WESPAC, as fiscal sponsor to NSJP, any general legal duty of care to Plaintiff or those like

him. ECF 79, at 1 (and 4, 8-9). The Opposition brief does not argue otherwise. Plaintiff admits

that a prerequisite to tort liability here would be a “breach of a duty designed to protect

motorists” like Plaintiff, Opp. 27, by a Defendant who “engaged” in “a course of action creating

a foreseeable risk of injury” to Plaintiff. Opp. 31. But since Plaintiff does not allege that

WESPAC was aware of the blockade, let alone planned, promoted, discussed, participated in or

funded it, he can not plausibly claim that WESPAC “engage[d]” in any “course of action,” let


                                                 3
     Case: 1:24-cv-08209 Document #: 101 Filed: 04/28/25 Page 5 of 12 PageID #:1459



alone one which created a foreseeable risk to Plaintiff.

          Plaintiff does cite a four-part Illinois test, contending that “WESPAC’s apparent failure

to supervise NSJP’s spending allowed NSJP to organize the illegal aspects of the A15 action in

violation of tax law.”3 Opp. 31-32, 41-43. However, without alleging that WESPAC had any

awareness of the blockade (or an “A15 action plan”), Plaintiff cannot legitimately argue there

was any “foreseeability of injury to Plaintiffs,” any “likelihood of the injury,” or any way of

“guarding against the injury.” And the “magnitude of the burden of guarding against” an injury

that WESPAC could not foresee, as well as “the consequences of placing that burden on”

WESPAC, would be huge and impossible to bear. Under Plaintiff’s theory, WESPAC and every

fiscal sponsor would have unlimited liability to anyone in the world who alleges injury from any

act or omission of a fiscal sponsoree, even when the fiscal sponsor was entirely unaware of the

circumstances in which the act or omission allegedly occurred. Unless the law is an ass,4

Plaintiff fails his own test for the imposition of a legal duty and liability on WESPAC here.

          Plaintiff’s attempt to impose a cognizable legal duty on WESPAC under federal law

stemming solely from the 1968 IRS Revenue Ruling fares no better. See Opp. at 41 (“Unless

WESPAC will contend in this Court that it violated tax law, the IRS imposes on it a legal duty to

supervise the spending of its NSJP project to ensure compliance with tax law[.]”). Even if

WESPAC owed a duty to the Treasury (in return for its tax exemption) to exercise some measure

of discretion or control over the funds it provided to NSJP as a fiscal sponsor, Plaintiff again fails

to cite any law, rule, regulation or case anywhere in the country extending such duty to anyone

other than the government, let alone to someone such as Plaintiff as to whom WESPAC had no


3
 Citing Simpkins v. CSX Transp., Inc., 965 N.E.2d 1092, 1097 (Ill. 2012) (“(1) the reasonable
foreseeability of the injury, (2) the likelihood of the injury, (3) the magnitude of the burden of guarding
against the injury, and (4) the consequences of placing that burden on the defendant.”).
4
    Courtesy of Mr. Bumble and Charles Dickens, Oliver Twist (“ass” meaning “donkey,” not “behind”).


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    Case: 1:24-cv-08209 Document #: 101 Filed: 04/28/25 Page 6 of 12 PageID #:1460



relation or awareness. Opp. 41-43. This glaring lack of legal authority was raised in WESPAC’s

opening papers, ECF 79, at 3-4, 8-9, but Plaintiff obviously has failed to remedy that defect.

        B. WESPAC Has No Conspiracy, Aiding and Abetting or In Concert Liability

        Plaintiff admits that Illinois conspiracy and aiding and abetting law require a defendant to

have knowingly joined a plan whose purpose was to cause an unlawful blockade and then

provided substantial support or encouragement. Opp. 37. That is effectively a concession of

WESPAC’s non-liability for conspiracy and aiding and abetting, because WESPAC did not have,

and is not alleged to have had, any prior knowledge or awareness of any plan by NSJP or anyone

else to cause an unlawful blockage at O’Hare. Without such knowledge, WESPAC could not

have knowingly and intentionally conspired or agreed to join such plan,5 nor could WESPAC

have provided substantial aider-and-abettor assistance, support or encouragement to a plan it

knew nothing about.6

        Nor is WESPAC liable to Plaintiff, either vicariously or for “In-Concert” Liability, for

providing general fiscal assistance to NSJP if, as here, none of that general fiscal assistance is

alleged to have been spent on this blockage which purportedly injured Plaintiff.                   Even if

arguendo WESPAC had some duty to Plaintiff to exercise some discretion and control over the

funds it provided to NSJP as general fiscal sponsorship support from donors disposed to donate

to NSJP, the SAC fails to allege that any such funds WESPAC transmitted to NSJP were actually

used in connection with this blockade, and NSJP has confirmed that Plaintiff could not truthfully


5
  See also CJE Reply 6-9, inter alia citing United States v. McKinney, 954 F.2d 471, 475 (7th Cir. 1992)
(holding that acts that do not contribute to accomplishing the charged conspiracy’s goal are not a valid
basis for a conspiracy), and observing that the Chicago protest would have happened as it did, with or
without CJE’s nationwide bail fund which did not contribute to accomplishing the alleged conspiracy’s
goal. The same observation is true of WESPAC’s general provision of donated funds to NSJP as fiscal
sponsor, which did not contribute to the charged conspiracy alleged goal of blockading O’Hare.
6
  See also CJE Reply 9-11 and n.11, citing cases holding that aiding and abetting requires actual rather
than constructive knowledge, and requiring that the defendant be aware of its role in the alleged tortious
activity at the time he provides the (substantial) assistance.


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  Case: 1:24-cv-08209 Document #: 101 Filed: 04/28/25 Page 7 of 12 PageID #:1461



allege that any WESPAC or NSJP funds were used for the blockade. See ECF 79, at 7, 9; ECF

80 (NSJP Br.), at 9. Where there is no WESPAC funding for the blockage that purportedly

injured Plaintiff, there can be no harm to Plaintiff attributed to WESPAC. Even if WESPAC had

a (non-existent) legal duty to Plaintiff and his class of motorists and passengers to make sure the

donated funds it transmitted to NSJP were not spent in connection with this blockage, Plaintiff

cannot complain of a breach of that duty – and impose liability on WESPAC for that blockage or

any injuries stemming from it – where Plaintiff has not and cannot allege that one WESPAC

dime was spent in connection with it.

       Although we have repeatedly emphasized this dispositive point, see, e.g., Doc 79, at 1, 7,

9, Plaintiff declined to address it in his Opposition Brief. See, e.g., Opp. 42 (asserting that

“WESPAC’s apparent failure to supervise NSJP’s spending allowed NSJP to organize the illegal

aspects of the A15 action in violation of tax law,” without addressing Plaintiff’s failure to allege

that any “NSJP’s spending” obtained from WESPAC was used to organize the A15 Action (the

blockade); and asserting that WESPAC “already had a legal duty to supervise NSJP’s activities,

and had legal ‘control and discretion’ over NSJP’s funds,” without addressing Plaintiff’s failure

to allege that any “NSJP’s funds” were used in connection with the blockade).

       This as well as anything reveals the malicious abuse of process perpetrated by Plaintiff

and his counsel in maintaining this SLAPP suit against WESPAC. They know there is no basis

to claim that general IRS guidance about sponsors’ obligations to control funds given to

sponsorees created a duty owed by WESPAC to them and other drivers at O’Hare. They know it

is preposterous to harp on this non-existent duty to control funds when no funds from WESPAC

were spent on this blockage. And without any logic let alone legal authority of any kind, they try

to expand that non-existent duty from one requiring control of funds to one requiring general

supervision of all activities. They posited an agency theory that actually conflicted with Illinois


                                                 6
    Case: 1:24-cv-08209 Document #: 101 Filed: 04/28/25 Page 8 of 12 PageID #:1462



law and the Restatement. When that was batted away, they have now claimed, utterly without

any supporting factual allegations and in the face of sworn certifications to the contrary,7 that

WESPAC and NSJP are one integrated entity. There are no specific factual allegations in the

SAC of events, communications or documents that would lend plausibility to that threadbare

legal conclusion; no allegations reflecting joint management, shared offices, staffing, salary

payments, or anything that might plausibly indicate one integrated entity. See ECF 79, at 10.

They simply make this up out of whole cloth, on information and belief, in the face of authority

teaching that “unsupported suspicions” upon information and belief do not provide “reasonable

grounds” to support such a conclusory allegation. Id. And they cite only an author of a book

purportedly as a sole, sufficient substitute for any law, rule, regulation or case law specifying

legal requirements for how fiscal sponsorships are or must be structured.8 Opp. 39-41. Moreover,

they defend this false claim knowing that, even if WESPAC and NSJP were joined at the hip,

there would be no valid claim against WESPAC from its fiscal sponsorship of NSJP if, as here,

WESPAC (or NSJP) is not alleged to have contributed one dime to the blockage that supposedly

injured Plaintiff. Although we pointed out the deficiencies of this conclusory pleading before,

see, e.g., ECF 60, ¶¶ 6-8, Plaintiff has not addressed them in his Opposition.



7
  Plaintiff’s “direct” fiscal sponsorship or “integrated entity” allegation flies in the face of both
WESPAC’s Notice of No Affiliates, ECF 48, and WESPAC’s certification in the California SLAPP suit
that it has never had an “alter-ego” or “integrated-entity” fiscal sponsorship with any other entity. ECF
60, ¶ 6. That obviously includes NSJP even if NSJP is not a corporation or 501©(3) entity with its own
tax exemption, two utterly irrelevant facts trumpeted by Plaintiff. Opp. 39-40. Indeed, an entity with its
own tax exemption would be unlikely to seek out a fiscal sponsorship of any kind, direct or not, and pay a
fee when its donors could contribute directly to such entity and obtain the same tax deduction for their
donations. The fact that NSJP does not have its own tax exemption does not at all suggest that its fiscal
sponsorship with WESPAC made it an “integrated entity,” let alone shoehorn WESPAC into some sort of
vicarious liability for alleged injury to Plaintiff from a blockade to which neither WESPAC nor NSJP
contributed one dime.
8
 Plaintiff offers absolutely no legal support for Plaintiff’s assertion that “if the sponsored entity does not
have 501©(3) status, the only legal way to fiscally sponsor it is through a direct fiscal sponsorship.” Opp.
39. No law, rule, regulation or case is cited to support it, and we have found none.


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    Case: 1:24-cv-08209 Document #: 101 Filed: 04/28/25 Page 9 of 12 PageID #:1463



            II. THERE IS STILL NO PERSONAL JURISDICTION OVER WESPAC

        Conceding the absence of general personal jurisdiction, Plaintiff contends there is

specific personal jurisdiction over WESPAC despite not alleging that WESPAC itself ever did

anything in Illinois or even directed at Illinois. This contention is frivolous.

        Plaintiff acknowledges he must show that “(1) the defendant” – WESPAC, not the

Defendants collectively – “must have purposefully availed himself of the privilege of conducting

business in the forum state or purposefully directed his activities at the state, (2) the alleged

injury must have arisen from the defendant’s forum-related activities, and (3) the exercise of

jurisdiction must comport with traditional notions of fair play and substantial justice.” Opp. 50.

Yet he argues that such jurisdiction is appropriate “because the claims in the complaint arise out

of actions by defendants in Illinois – the O’Hare blockade.” Id. How that argument squares with

Plaintiff’s observation that “WESPAC only funded NSJP in New York,” Opp. 53, and his failure

to allege that WESPAC sent any money to Illinois for this protest or took any action in Illinois in

connection with it, and indeed knew nothing about it, would be mystifying but for the utter bad

faith reflected in Plaintiff’s claims against WESPAC in its three complaints so far.9

        Moreover, Plaintiff admits that for the intentional torts he purports to plead, he has to

show intentional, tortious conduct by the defendant, “expressly aimed at Illinois, with the

defendant’s knowledge that the effects would be felt – i.e., the plaintiff would be injured – in the

forum state.” Opp. 50. However, Plaintiff has not alleged any intentional, tortious conduct by

WESPAC, expressly aimed at Illinois, with the knowledge that Plaintiff here would be injured in

Illinois.   Indeed, Plaintiff’s Opposition effectively concedes WESPAC had no advance

knowledge of this Illinois protest, did not commit any intentional, tortious conduct, and had no


9
 See also CJE Reply 2-3 (citing cases questioning the idea of personal jurisdiction based on derivative
theories like conspiracy and rejecting theory of personal jurisdiction resting entirely on derivative
conspiracy claim but making no claim as to defendant’s individual conduct in Illinois).


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     Case: 1:24-cv-08209 Document #: 101 Filed: 04/28/25 Page 10 of 12 PageID #:1464



knowledge of Plaintiff or any other drivers and passengers stuck in traffic. Thus, WESPAC

could not have known that anyone in Illinois would be injured (allegedly).10 The contention that

suing WESPAC in Illinois under these circumstances comports with “fair play and substantial

justice” is simply frivolous.

         III. THIS SLAPP SUIT AGAINST WESPAC SHOULD BE DISMISSED

          Plaintiff’s arguments against the applicability of the Illinois Citizen Participation Act are

meritless, and his SLAPP suit should be dismissed pursuant to the ICPA. The ICPA is

substantive and cognizable in federal court. The statute applies to the intentional torts alleged

here, as well as to Claim IX alleging negligence or recklessness, and the other derivative claims.

Dismissal is warranted because it is patently obvious that Plaintiff and his counsel sued

WESPAC and the other Defendants, without merit and in retaliatory fashion, because of their

First-Amendment protected speech and advocacy aimed at procuring favorable governmental

action, and for which Plaintiff and his counsel seek to punish Defendants and squelch their

ongoing advocacy. See JVP Reply 2-9.

         Plaintiff contends that his claims are not “based on First-Amendment protected activity,”

but rather on Defendants’ “conduct.” Opp. 3. That is clearly not true with respect to WESPAC,

which is not actually alleged to have engaged in (and did not engage in) any “conduct” relating

to events at O’Hare. Rather, it is WESPAC’s having provided fiscal sponsorship support –


10
  All of the cases Plaintiff relies on are distinguishable and no help to him here. This fiscal sponsorship is
not like general partnerships in which personal jurisdiction over the partnership automatically “gives rise
to personal jurisdiction over the general partners comprising the partnership.” Brown v. 1995 Tenet
Paraamerica Bicycle Challenge, 931 F. Supp. 592, 594 (N.D. Ill. 1996). Unlike WESPAC here, the
Florida defendants in Calder v. Jones, 465 U.S. 783 (1984) were not charged with untargeted negligence,
but rather with intentional conduct expressly aimed at California and calculated to cause injury to the
plaintiff there. Similarly, the Michigan defendant in Burger King Corp. v. Rudzewicz, 471 U.S. 462
(1985) had established a substantial and continuing relationship with the plaintiff in Florida, the forum
state, received fair notice that he might be subject to suit in Florida, and failed to demonstrate how
jurisdiction in that forum would be fundamentally unfair. Here, WESPAC has clearly demonstrated that
jurisdiction would be fundamentally unfair where, inter alia, it had no relationship with Plaintiff and
received no notice that he might be subject to suit in Illinois.


                                                      9
     Case: 1:24-cv-08209 Document #: 101 Filed: 04/28/25 Page 11 of 12 PageID #:1465



donations and contributions – to NSJP, another Palestinian-rights educational and advocacy

organization, that Plaintiff asserts renders WESPAC liable for anything NSJP did. Opp. 5, 39-

43.11 That form of communication and advocacy is indeed activity protected by the First

Amendment. See, e.g., Citizens United v. FEC, 558 U.S. 310, 327, 339-51 (2010) (holding that

prohibition or restriction on independent, non-profit corporate expenditures on political

communication is an outright ban on political speech in violation of the First Amendment).

         In Citizens United, the Supreme Court made certain observations highly relevant here. It

noted that (1) the First Amendment stands against attempts to disfavor certain subjects or

viewpoints or to distinguish among different speakers as a means to control content; (2) “the

Government lacks the power to ban corporations from speaking”; (3) “effective public

communication requires the speaker to make use of the services of others”; and (4) all speakers,

including individuals and the media, use money amassed from the economic marketplace to fund

their speech, which is protected by the First Amendment. See also Buckley v. Valeo, 424 U.S. 1,

65–66 (1976) (“The right to join together for the advancement of beliefs and ideas is diluted if it

does not include the right to pool money through contributions, for funds are often essential if

advocacy is to be truly or optimally effective."); and Voice v. Noem, 380 F. Supp. 3d 939 (D.S.D.

2019) (holding state law ban on out-of-state political contributions to be an unconstitutional

abridgment of First Amendment).

         Here, beyond his admission that he is suing WESPAC solely for being NSJP’s fiscal

sponsor, Plaintiff does not dispute that such fiscal sponsorship, in furtherance of both

WESPAC’s and NSJP’s mission of advocacy for Palestinian rights, was lawful under federal

law. See, e.g., SAC ¶ 14, 51; Opp. 41 (noting that the “IRS permits a 501(c)(3) entity to fund


11
   See also SAC ¶¶ 106, 114 (making clear that Plaintiff’s theory of liability against WESPAC is based on
its rendering general “financial assistance” to NSJP, not providing any money that was specifically used
for or in connection with this blockage that allegedly injured Plaintiff).


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     Case: 1:24-cv-08209 Document #: 101 Filed: 04/28/25 Page 12 of 12 PageID #:1466



non-exempt activities if they further its exempt purposes”). And because the SAC does not allege

that WESPAC knew of, promoted, discussed, or participated in the O’Hare blockage that

allegedly injured Plaintiff, or that any money NSJP received from WESPAC was spent in

connection with that blockage,12 Plaintiff has effectively conceded that it sued WESPAC solely

because of its First-Amendment-protected activity.

                                          CONCLUSION

         This Court should grant Defendant WESPAC’s Motion to Dismiss with prejudice, together

with the relief sought in its Motion.

Dated: April 28, 2025                                  HERBST LAW PLLC


                                               By:___/s/ Robert L. Herbst________________
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                                                     WESPAC Foundation




12
   See SAC ¶¶ 105, 106, 114, 121, 128, 135, 142, 146. None of these paragraphs – the only paragraphs in
all nine counts relating to WESPAC – allege that WESPAC was aware of or did anything to plan,
participate in, promote or fund this blockage. Plaintiff alleges that WESPAC had, or as fiscal sponsor
should have had, “awareness of NSJP’s blockade strategy,” SAC ¶¶ 106, 114. But as we pointed out
earlier, ECF 79, at 12-13, “Plaintiff alleges no facts making plausible the conclusory statement that
WESPAC knew of any ‘blockade strategy,’ let alone one to be used at O’Hare,” having “abandoned all
previous allegations that WESPAC was involved in planning the protest or otherwise providing actual
support for it.” Notably, in his Opposition, Plaintiff pointed to no facts supporting its allegation of
WESPAC’s knowledge or constructive knowledge of any blockade strategy, thereby conceding the point.


                                                  11
